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                                       UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEW JERSEY


    INDUSTRIA DE ALIMENTOS ZENÚ S.A.S.,
         Plaintiff,
                           v.                          Civil Action No: 2:16-CV-06576-
                                                       (CCC)(MAH)
    LATINFOOD U.S. CORP. d/b/a ZENÚ
    PRODUCTS CO. and WILSON ZULUAGA
         Defendants/Counter Plaintiff,                 [PROPOSED] ORDER FOR
                                                       ATTORNEYS’ FEES AND COSTS
    LATINFOOD U.S. CORP. d/b/a ZENÚ
    PRODUCTS CO.,
         Defendant/Counter Plaintiff
                           v.
    INDUSTRIA DE ALIMENTOS ZENÚ S.A.S
    and CORDIALSA USA, INC.
         Counter Defendants.


   Upon consideration of Defendants Latinfood U.S. Corp. d/b/a Zenú Products Co. and Wilson

   Zuluaga (collectively “Latinfood” or “Defendants”) motion pursuant to the Court’s inherent

   powers to offset from any fee award to Plaintiff, Industria de Alimentos Zenú S.A.S. (“Plaintiff”),

   all attorneys’ fees and costs expended by Defendants’ counsel and Michael Saffer, Esq. in making

   a second fee opposition submission, which was due solely to Industria’s initial and deficient fee

   application; and due notice having been given to Plaintiff; and the Court having read and

   considered the submissions of the parties, including the concurrently filed Defendants’

   opposition to Plaintiff’s 2nd Fee Application (including the Supplemental Declarations of

   Mark J. Ingber and Michael Saffer, Esq., and for good cause shown:


   IT IS HEREBY ORDERED that:

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   Defendants’ Motion is GRANTED;

   AND IT IS FURTHER ORDERED that within twenty-one days of the entry of this Order,

   Defendants will submit an affidavit setting forth the attorneys’ fees and costs associated with in

   making a second fee opposition submission.



                                                       Hon.




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